Case 7:21-mj-09156-UA Document1 Filed 09/21/21 Page 1of5

roca: SOM

Qais Ghafary
Assistant United States Attorney

 

Before: HONORABLE ANDREW E. KRAUSE
United States Magistrate Judge
Southern District of New York

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

enema tk ek a nr x
UNITED STATES OF AMERICA COMPLAING | \ (IS
- Vv. on : Violations of 18
: U.S.C. §§ 2251 (a) and
KRISCIA VASQUEZ, : 2
Defendant. : COUNTY OF OFFENSE:
: WESTCHESTER
ee X

SOUTHERN DISTRICT OF NEW YORK, ss.:

KARMA M. SMITH, being duly sworn, deposes and says that she
is a Special Agent with the Federal Bureau of Investigation
(“FBI”), and charges as follows:

COUNT ONE
(Production of Child Pornography)

1. From in or about April 2021 through in or about September
2021, in the Southern District of New York and elsewhere,
KRISCIA VASQUEZ, the defendant, unlawfully, willfully and
knowingly employed, used, persuaded, induced, enticed, and
coerced a minor to engage in sexually explicit conduct for the
purpose of producing a visual depiction of such conduct, and the
defendant knew and had reason to know that such visual depiction
would be transported and transmitted using any means and
facility of interstate and foreign commerce and in or affecting
interstate and foreign commerce and mailed, and the visual
depiction would be produced using materials that had been
mailed, shipped and transported in and affecting interstate and
foreign commerce by any means including by computer, to wit,
VASQUEZ, while in Westchester County, communicated with a 14-
year-old minor (the “Minor”) online and used, persuaded, and
Case 7:21-mj-09156-UA Document1 Filed 09/21/21 Page 2 of 5

directed the Minor to take and send sexually explicit visual
depictions of the Minor to VASQUEZ.

(Title 18, United States Code, Sections 2251(a) and 2.)

The bases for my knowledge and for the foregoing charges
are, in part, as follows:

2. I am a Special Agent with the FBI and have been so
employed for approximately 19 years. I am assigned to the FBI’s
Westchester Safe Street Task Force which is charged with
enforcing federal laws, including the prohibition of child
pornography and other forms of child exploitation. As such, I
have worked on numerous investigations and prosecutions
involving minor victims and those who victimize these children.
This affidavit is based upon my personal participation in the
investigation of this matter, as well as on my conversations
with other law enforcement officers and my examination of
documents, reports, and records. Because this affidavit is being
submitted for the limited purpose of establishing probable
cause, it does not include all the facts I have learned during
the investigation. Where the contents of documents or the
actions, statements, or conversations of others are reported
herein, they are reported in substance and in part, except where
otherwise indicated.

3. Based on my discussions with a law enforcement member of
the FBI, I know that on or about September 21, 2021, the FBI’s
Westchester Safe Streets Task Force became involved in an
investigation by federal and state authorities in Ohio of a
missing child, the Minor, who had been reported missing.
KRISCIA VASQUEZ, the defendant, became a person of interest in
that investigation.

4. Based on my discussion with law enforcement officers, my
review.of law enforcement reports, and my participation in the

investigation, I have learned the following:

a. KRISCIA VASQUEZ, the defendant, resides at a certain
address in Ossining, New York (the “Residence”).

b. On or about September 21, 2021, law enforcement

officials — including officers with the Ossining Police
Department (“OPD”) and members of the FBI’s Westchester Safe
Streets Task Force —~ and I went to the Residence and spoke

with, among others, VASQUEZ and her parents, who confirmed that
they reside with VASQUEZ at the Residence. VASQUEZ acknowledged
Case 7:21-mj-09156-UA Document1 Filed 09/21/21 Page 3of5

that she had previously communicated with the Minor but denied
having knowledge of his current whereabouts. VASQUEZ was then
brought to the OPD station for further questioning.

c. While VASQUEZ was on route to the OPD station, OPD
officers obtained the verbal consent of VASQUEZ'’s parents to
search the Residence for the Minor. OPD officers found the
Minor hiding in VASQUEZ’s bedroom closet.

5. Based on my discussions with law enforcement and my
participation in this investigation, I have learned that once
KRISCIA VASQUEZ, the defendant, arrived at the OPD station,
VASQUEZ was advised of her Miranda rights and agreed to speak
with law enforcement. VASQUEZ also provided written consent to
search her iPhone cellular phone (“the Cellphone”) and provided
her passcode to access the Cellphone.

6. Based on my discussions with law enforcement and my
participation in this investigation, I have learned that law
enforcement officers reviewed the contents of the Cellphone and
discovered, among other things, the following, in substance and
in part:

a. Multiple sexually explicit visual depictions of the
Minor received or stored in or about April 2021 through in or
about September 2021, including multiple videos and photographs
stored within the Cellphone’s Snapchat application within a
folder entitled “My Eyes Only.” These still and video images
depicted the Minor in a nude state revealing his genitalia and
engaged in masturbation. The “My Eyes Only” folder also
includes still and video images of a computer screen on which
there are sexually explicit depictions of the Minor, including
multiple videos in which the Minor is engaged in masturbation.

b. Multiple sexually explicit visual depictions created
in or about August 2021 through in or about September 2021 that
depicted the Minor in a nude state revealing his genitalia and
which depictions were stored within the Cellphone’s photography
gallery, in a folder entitled “Recently Deleted.”

7. Based on my discussions with law enforcement and my
participation in this investigation, I have learned that KRISCIA
VASQUEZ, the defendant, made the following statements, in
substance and in part, to law enforcement during her post-
Miranda interview:
Case 7:21-mj-09156-UA Document1 Filed 09/21/21 Page 4of5

a. VASQUEZ and the Minor met online through a video-
gaming application and eventually began a romantic relationship
with the Minor in or about April 2021. VASQUEZ and the Minor
communicated often through social media applications such as
Snapchat and Discord.

b. On or about September 19, 2021, VASQUEZ and a friend
drove from Yonkers, New York, to the vicinity of the Minor’s
residence in Ohio. VASQUEZ picked up the Minor and eventually
accompanied him back to her Residence in Ossining, New York.

The Minor remained in VASQUEZ’s bedroom while members of
VASQUEZ'’s family were home so as not to alert family members to
the Minor’s presence in the Residence.

c. VASQUEZ provided law enforcement with varying,
conflicting statements about her knowledge of the Minor’s age,
but acknowledged that at one point the Minor told her he was 16
years old.

d. VASQUEZ confirmed to law enforcement that the
sexually explicit videos and images referenced in Paragraph 6.a.
above were, in fact, visual depictions of the Minor.

e. VASQUEZ acknowledged that she encouraged the Minor
to send her the sexually explicit depictions of the Minor that
were found on the Cellphone, that VASQUEZ and the Minor would
communicate their’ preferences for what kind of depictions each
preferred to exchange with each other, and that VASQUEZ and the
Minor would often exchange such depictions.

£. VASQUEZ also stated that she had engaged in sexual
intercourse with the Minor more than ten times in approximately
the 36 hours preceding his discovery by law enforcement on or
about September 21, 2021.

8. Based on my discussions with law enforcement and my
participation in this investigation, I have learned that after
law enforcement discovered the Minor in the Residence, the Minor
told law enforcement, in substance and in part, that he is 14
years old. Law enforcement officials in Ohio investigating the
missing person report also ascertained that the Minor is 14
years old.
Case 7:21-mj-09156-UA Document1 Filed 09/21/21 Page 5of5

WHEREFORE, the deponent respectfully requests that
KRISCIA VASQUEZ, the defendant, be imprisoned or bailed, as
the case may be.

($5 (Am
KARMA M. SMITH
Special Agent
Federal Bureau of Investigation

Sworn to before me this
Als day of September 21, 2021

Caos Fea ——

THE HONORABLE ANDREW E. KRAUSE
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK
